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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                    )
JASON FYK,                          )
                                    )
                  Plaintiff,        )
                                    )
      v.                            )              Civil Action No. 22-1144 (RC)
                                    )
UNITED STATES OF AMERICA,           )
                                    )
                  Defendant.        )
____________________________________)


                                NOTICE OF APPEARANCE

       The Clerk of the Court will please enter the appearance of Benton G. Peterson, Assistant

U.S. Attorney, as counsel of record for Defendant in the above-captioned case.




Dated: August 3, 2022                       Respectfully submitted,


                                               /s/ Benton G. Peterson
                                            BENTON G. PETERSON
                                            Bar No. 1029849
                                            Assistant United States Attorney
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                        CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 3rd day of August, 2022, the foregoing

Notice of Appearance has been served this Court’s Electronic Case Filing System

(ECF).


                                      /s/ Benton G. Peterson
                                     BENTON G. PETERSON
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